Case 3:14-cv-02469-MMA-MDD Document 21 Filed 01/10/17 PageID.84 Page 1 of 2



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                         UNITED STATES DISTRICT COURT
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                       SOUTHERN DISTRICT OF CALIFORNIA
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11    IN RE: MIDLAND CREDIT                    MDL No. 2286-MMA (MDD)
      MANAGEMENT, INC.,
12    TELEPHONE CONSUMER                       This document relates to the following
      PROTECTION ACT                           member cases:
13    LITIGATION
                                               10-cv-2261-MMA-MDD
14                                             10-cv-2600-MMA-MDD
                                               11-cv-2370-MMA-MDD
15                                             14-cv-1484-MMA-MDD
                                               14-cv-1849-MMA-MDD
16                                             14-cv-2410-MMA-MDD
                                               14-cv-2469-MMA-MDD
17                                             15-cv-0415-MMA-MDD

18                                             CLASS ACTION

19                                             JUDGMENT

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22         Pursuant to the Amended Order Adopting Reports and Recommendations;
23   Granting Final Approval of Class Action Settlement; Granting Motion for Attorneys’
24   fees, Costs and Incentive Awards filed December 2, 2016 (Document No. 434), and
25   there being no just reason for delay, judgment is hereby entered on the Consolidated
26   Complaint filed in this action on July 11, 2012 (Document No. 23) and in each of the
27   member cases referenced above, and the Consolidated Complaint and each of those
28   member cases is hereby dismissed with prejudice in all respects.

                                        JUDGMENT                 11-MD-2286-MMA (MDD)
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 1         Without affecting the finality of this Judgment, the Court hereby retains
 2   continuing and exclusive jurisdiction over the Parties and all matters relating to this
 3   action and/or the Settlement, including the administration, interpretation,
 4   construction, effectuation, enforcement and consummation of the Settlement and the
 5   Court’s Orders in this Action and the member cases.
 6         IT IS SO ORDERED.
 7   DATE: January 10, 2017                 ____________________________________
 8                                          HON. MICHAEL M. ANELLO
                                            United States District Judge
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                                         JUDGMENT                  11-MD-2286-MMA (MDD)
